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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                    Crim. Action No. 21-24-1 (EGS)

ROBERT GIESWEIN,

                 Defendant.




                                  ORDER
      The Court has considered the government’s representations

about the pace of disclosures of discovery to the defense in this

matter, given in the government’s Notice Regarding Status of

Discovery, ECF No. 26, attaching a Memorandum Regarding Status of

Discovery, ECF No. 26-1, the government’s Reply in Support of Oral

Motion, ECF No. 33, and the government’s Memorandum Regarding

Status of Discovery as of August 23, 2021, ECF No. 40 (hereinafter

“August 23 Mem. re Discovery”). The Court has also considered the

defense’s position on these matters, reflected in defendant’s

Opposition to the Government’s July 29 Oral Motion to Exclude Time

Under the Speedy Trial Act, ECF No. 30, and the defendant’s

Memorandum in Support of Proposed Order, filed today. The Court

has   also   considered   the   parties’    oral    arguments    regarding

discovery and related issues at the August 11, 2021 status hearing.
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     In consideration of the above, and consistent with the Court’s

oral order at the August 11, 2021 status hearing in this matter,

it is hereby

     ORDERED that, by September 16, 2021, the government shall

have in place the contracts necessary to provide defendant’s counsel

with 1) licensed access to a “wholly separate defense Relativity

workspace” through which the government can share all discoverable

documents, and which will have the other capabilities the government

described in its Aug. 23 Mem. re Discovery, ECF No. 40, and 2) access

to a “defense instance of evidence.com” through which the government can

share all discoverable digital media evidence, and which will have the

other capabilities the government described in the same Memorandum, ECF

No. 40; and it is

     FURTHER ORDERED that, by September 16, 2021, the government shall

have in place any other contracts necessary to ensure that the defense

will be able to review discoverable evidence, analyze such evidence, and

compartmentalize such evidence to the same extent that the government

can; and it is

     FURTHER ORDERED that, no later than September 16, the government

shall file a status report regarding its progress toward complying with

this Order, and its projections for when the defense in this case will

actually be able to review all discoverable material in the defense

Relativity workspace and the defense instance of evidence.com referenced

above.



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    SO ORDERED.

Signed:
             Emmet G. Sullivan
             United States District Judge




Date:        ______________________________




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